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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
      v.                                      :         No. 21-CR-503 (RCL)
                                              :
GLENN BROOKS,                                 :
                                              :
                         Defendant.           :

                   UNITED STATES’ OPPOSITION TO DEFENDANT
                 GLENN BROOKS’ MOTION FOR CHANGE OF VENUE

       Defendant Glenn Brooks (“the defendant”) has failed to meet his heavy burden in

requesting that the case be transferred for the convenience of the parties, any victim, and the

witnesses, and in the interest of justice, as required by Rule 21(b) of the Federal Rules of

Criminal Procedure. The United States Supreme Court has put forward a ten-factor, non-

exhaustive test for courts to consider in deciding whether to grant a change of venue motion.

Platt v. Minn. Mining & Mfg. Co., 376 U.S. 240, 243-44 (1964). Although the defendant ignores

this ten-factor test in his motion, the defendant appears to meet two of the factors—that he and

his counsel do not live in Washington, D.C. The remaining factors favor retaining venue in the

District of Columbia. This Court has held that if the factors “are equally balanced a court should

deny a motion to transfer.” United States v. Bowdoin, 770 F. Supp. 2d 133, 137 (D.D.C. 2011)

(Collyer, J.). Here, the factors are not equally balanced and, instead, weigh in favor of denying

the motion. Thus, the Court should deny the defendant’s motion.

                                        BACKGROUND

       Individuals from all over the country traveled to Washington, D.C. for the events of January

6, 2021. On that date, as a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.
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Presidential Election, a large crowd gathered outside the building and, ultimately, forced entry into

the U.S. Capitol.    These rioters entered the U.S. Capitol without authority to be there. Some

engaged in property destruction and violent acts against law enforcement officers. As a result of

these acts, the Joint Session and the entire official proceeding of the Congress was halted until law

enforcement was able to clear the Capitol of the hundreds of unlawful occupants and ensure the

safety of the elected officials.

        Defendant Glenn Brooks was one of the individuals who participated in the attack on

January 6, 2021, by unlawfully entering the U.S. Capitol building. He traveled to the District of

Columbia from his home in California and committed federal crimes in the District. Specifically,

on January 6, 2021, Defendant unlawfully entered the U.S. Capitol building through a broken

window near the Senate Wing Door. While inside the Capitol building, the defendant took

photographs, including a photograph of himself inside the building. Approximately 17 minutes

after entering the building through the broken window, defendant exited the building. After, he

was arrested and charged by Information with Entering and Remaining in a Restricted Building or

Grounds, in violation of 18 U.S.C. § 1752(a)(1); Disorderly and Disruptive Conduct in a Restricted

Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2); Disorderly Conduct in a Capitol

Building, in violation of 40 U.S.C. § 5104(e)(2)(D); and Parading, Demonstrating, or Picketing in

a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G). See Dkt. 6.

        Defendant now argues that this matter should be transferred to the U.S. District Court for

the Central District of California and, in his three-and-a-half-page motion, appears to put forward

several different arguments, including the following: the government “has no right with respect to

venue, because those rights belong to the defendant,” Mot. at 2; the United States Supreme Court

“has expounded on the importance of prosecuting cases near the criminal defendant’s home,” Mot.



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at 2; and “Defendant knows of no percipient witnesses who do not reside in or are employed in

Orange County,” Mot. at 3. Although not mentioned in the defendant’s motion, in a letter to the

Court dated October 29, 2021, Mr. Stephen Yagman, the signatory of the defendant’s motion for

change of venue, also states that he intends to represent Mr. Brooks but is only able to do so if the

case is transferred to the Central District of California due to counsel’s concerns with the ongoing

COVID pandemic. See Dkt. 19, Atch. 1.

                                     LEGAL FRAMEWORK

       The United States Constitution provides that “[t]he trial of all Crimes . . . shall be held in

the State where the said Crimes shall have been committed,” Art. III, § 2, cl. 3, before a “jury of

the State and district wherein the crime shall have been committed,” Amend. VI. These provisions

give rise to “a general presumption that a criminal prosecution should be retained in the original

district.” Bowdoin, 770 F. Supp. 2d at 138.        In this vein, courts have consistently held that

defendants in criminal cases are not entitled to a trial in their home districts. See, e.g., Platt, 376

U.S. at 245; Bowdoin, 770 F. Supp. 2d at 138; U.S. v. Quinn, 401 F. Supp. 2d 80, 86-87 (D.D.C.

2005) (Bates, J.).

       Although the Constitution sets forth this presumption, defendant may move the Court to

transfer venue for prejudice, under Federal Rule of Criminal Procedure Rule 21(a), or—as the

defendant argues here—for convenience, under Federal Rule of Criminal Procedure Rule 21(b).

Rule 21(b) provides, “Upon the defendant’s motion the court may transfer the proceedings, or one

or more counts, against that defendant to another district for the convenience of the parties, any

victim, and the witnesses, and in the interest of justice.” Fed. R. Crim. P. 21(b) (emphasis added).

       The United States Supreme Court has set forth a list of ten factors that should be considered

by a court in deciding whether to transfer a case under Rule 21(b):



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        (1) Location of the [the] . . . defendant; (2) location of possible witnesses; (3)
        location of events likely to be in issue; (4) location of documents and records likely
        to be involved; (5) disruption of defendant’s business unless the case is transferred;
        (6) expense to the parties; (7) location of counsel; (8) relative accessibility of [the]
        place of trial; (9) docket condition of each district or division involved; and (10)
        any other special elements which might affect the transfer.

Platt, 376 U.S. at 243-44; see also Quinn, 401 F. Supp. 2d at 85. The United States District

Court for the District of Columbia has held that none of these factors is dispositive and that

courts may decide which factors are most significant for the case at issue. See Bowdoin,

770 F. Supp. 2d. at 137 (citing Quinn, 401 F. Supp. 2d at 85). This Court has also held that

if the factors are equally balanced, a motion to change venue should be denied. See United

States v. Shantia Hassanshahi, No. 13-0274, 2015 WL 7307079, *2 (Nov. 19, 2015)

(Contreras, J.).

        The defendant bears the burden of establishing his entitlement to a transfer of venue. See,

e.g., In re United States, 273 F.3d 380, 388 (3d Cir. 2001) (“the courts have held that the criminal

defendant has the burden of making the case for transfer” under Rule 21(b)). To meet this burden,

the defendant is required to prove that “all relevant things considered, the case would be better off

transferred to another district.” Id. (citing In re Balsimo, 68 F.3d 185, 187 (7th Cir. 1995)). Courts

typically look to supporting documentation, such as “names and addresses of witnesses whom the

moving party plans to call, . . . affidavits showing the materiality of the matter to which these

witnesses will testify, statements by the moving part[y] of the business difficulties or personal

hardships that might result from. . . having to defend against the suit in the district court where it

was originally brought, affidavits concerning the relative ease of access to sources of documentary

evidence, and other materials where appropriate.” Id. (quoting Plum Tree, Inc. v. Stockment, 488

F.2d 754, 757 n.2 (3d Cir. 1973)).




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                                           ARGUMENT

       The defendant’s motion should be denied, because, when weighing the Platt factors,

defendant has failed to prove that trial in the District of Columbia “would be so unduly burdensome

that fairness require the transfer to another district of proper venue where a trial would be less

burdensome.” Baltimore & Ohio R.R., 538 F. Supp. 200, 205 (D.D.C. 1982) (Parker, J.) (quoting

United States v. U.S. Steel Corp, 233 F. Supp. 154, 157 (S.D.N.Y. 1964)).

       In Pratt, the Supreme Court set forth ten non-exhaustive factors for courts to

examine when considering a motion to transfer venue under Rule 21(b):

       (1) Location of the [the] . . . defendant; (2) location of possible witnesses; (3)
       location of events likely to be in issue; (4) location of documents and records likely
       to be involved; (5) disruption of defendant’s business unless the case is transferred;
       (6) expense to the parties; (7) location of counsel; (8) relative accessibility of [the]
       place of trial; (9) docket condition of each district or division involved; and (10)
       any other special elements which might affect the transfer.

       While defendant and his counsel are in California, nearly every other Platt factor

favors denying a motion to transfer. For instance, with respect to the location of possible

witnesses, the defendant alleges that he “knows of no percipient witnesses who do not

reside in or are employed in Orange County.” Mot. at 3. But the defendant has failed to

provide any “names and addresses of witnesses whom the moving party plans to call” or

“affidavits showing the materiality of the matter to which these witnesses will testify,” In

re U.S., 273 F.3d at 386 (quoting Plum Tree, 488 F.2d at 757 n.2). Also, the government

will likely call several law enforcement officers as witnesses at trial, and while the identity

of these law enforcement officers is currently unknown, it is near certain that most of these

officers will reside in or near Washington, D.C.

       Also, the events at issue occurred in Washington, D.C. On January 6, 2021,

Defendant unlawfully entered the U.S. Capitol building by climbing through a broken


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window on the west side of the Capitol building. While inside the building, the defendant

took photographs, including a photograph of himself inside the building. Defendant exited

the building about 17 minutes after entering.

       In addition, the defendant has not raised any issues about disruption to his

employment, expenses, or the relative accessibility of Washington, D.C. for the trial. In

fact, although the Court has offered to conduct hearings via Zoom, the defendant has

chosen to travel to Washington, D.C. for the only two hearings that have occurred thus far

in this matter. Defendant also traveled to Washington, D.C. on January 6, 2021, to

participate in the crimes at issue. So it appears travel to Washington, D.C. does not present

any employment, expense, or accessibility issues for the defendant.

       Finally, Mr. Yagman has stated that if the defendant’s motion is denied he will be

unable to represent the defendant because of travel restrictions due to the ongoing

pandemic. See Dkt. 19, Atch. 1. While this is an unfortunate situation, the defendant may

choose to move forward with his current counsel, or there are many defense counsel in the

Washington, D.C. area should the defendant choose to retain new counsel.




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                                     CONCLUSION

      For the foregoing reasons, the Government respectfully requests that Defendant Glenn

Brooks’ Motion for Change of Venue be denied.



                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                United States Attorney
                                                D.C. Bar No. 481052


                                         By:            /s/ Laura E. Hill
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                                CERTIFICATE OF SERVICE
        On this 12th day of November, 2021, a copy of the foregoing was served on counsel of
record for the defendant via the Court’s Electronic Filing System.


                                                          /s/
                                                   LAURA E. HILL
                                                   Trial Attorney




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